

People ex rel. Watters v Warden, W. Facility, Rikers Is. Detention Facility (2024 NY Slip Op 00846)





People ex rel. Watters v Warden, W. Facility, Rikers Is. Detention Facility


2024 NY Slip Op 00846


Decided on February 15, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

COLLEEN D. DUFFY, J.P.
ROBERT J. MILLER
HELEN VOUTSINAS
LAURENCE L. LOVE, JJ.


2024-01295	DECISION, ORDER &amp; JUDGMENT

[*1]The People of the State of New York, ex rel. Kyle B. Watters, on behalf of Michael Moreno, petitioner,
vWarden, West Facility, Rikers Island Detention Facility, respondent.


Kyle B. Watters, Bayside, NY, petitioner pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Nancy Fitzpatrick Talcott, Julien Gutierrez, and Brendan Quinones of counsel), for respondent.
Writ of habeas corpus in the nature of an application to release Michael Moreno upon his own recognizance or, in the alternative, to set reasonable bail upon Queens County Indictment Nos. 2283/2023 and 74193/2023.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail upon Queens County Indictment Nos. 2283/2023 and 74193/2023 is set in the sum of $500,000 posted in the form of an insurance company bail bond, the sum of $500,000 posted in the form of a partially secured bond, with the requirement of 10% down, or the sum of $50,000 deposited as a cash bail alternative, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Michael Moreno shall (1) wear an electronic monitoring bracelet, with monitoring services to be provided by a qualified entity pursuant to CPL 510.40(4)(c), and any violations of the conditions set forth herein relating to the electronic monitoring shall be reported by the electronic monitoring service provider to the Office of the District Attorney of Queens County, and further proceedings pursuant to CPL 510.40(4)(d), if any, shall be conducted by the Supreme Court, Queens County; (2) remain confined to his residence in New York City, except for visits to his attorney, his doctors, or court, and must travel directly from his residence in New York City to his attorney, his doctors, or court, and directly back to his residence in New York City when conducting those visits; (3) surrender all passports, if any, he may have to the Office of the District Attorney of Queens County, or, if he does not possess a passport, he shall provide to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (4) provide to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Michael Moreno (1) has given an insurance company bail bond in the sum of $500,000, has given a partially secured bond in the sum of $500,000, with the requirement of 10% down, or has deposited the sum of $50,000 as a cash bail alternative; (2) has arranged for electronic monitoring with a qualified entity pursuant to CPL 510.40(4)(c); (3) has surrendered all passports, [*2]if any, he may have to the Office of the District Attorney of Queens County, or, if he does not possess a passport, has provided to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (4) has provided to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which Michael Moreno is incarcerated, or his or her agent, is directed to immediately release Michael Moreno from incarceration.
DUFFY, J.P., MILLER, VOUTSINAS and LOVE, JJ., concur.
ENTER:
Darrell M. Joseph
Acting Clerk of the Court








